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Exhibit 1 – Chart of photos and videos.

 Batch        Filename                    Time    Relevance
                                          Stamp
 ALK Still    ALK DSC_1910                5:14    France Street on approach, Savage and Foytlin in roadway.
              ALK DSC_1914                5:15    France Street on approach, Savage on grass, Foytlin on
                                                  sidewalk.
              ALK DSC_1919                5:18    Savage and Pollard on sidewalk northeast corner of the
                                                  intersection.
              ALK DSC_1924                5:24    Finn and Nichols at northwest corner of the intersection,
                                                  Nichols in roadway, Finn on sidewalk.
              ALK DSC_1929                5:24    Savage, Foytlin, and Muhammed in the roadway on France
                                                  just west of East. Nichols in roadway East Blvd.
              ALK DSC_1931                5:24    Foytlin, and Muhammed in the roadway on France just west
                                                  of East. Imani maybe on sidewalk, France Street north side.
                                                  Nichols and Alexus on sidewalk NW corner of the
                                                  intersection.
              ALK DSC_1936                5:26    Batiste yard, Foytlin, Savage, Finn, Alexus on sidewalk. Some
                                                  protesters covering ears, but not all.
              ALK DSC_1956                5:54    Batiste yard. Pollard, Nichols, Imani visible.
              ALK DSC_2008                6:05    Savage and Foytlin in street at France Street. Alexus on
                                                  sidewalk at corner. Finn on sidewalk/near yard. Imani and
                                                  Muhammed in yard. Pollard on sidewalk.
              ALK DSC_2022                6:09    Batiste yard. Pollard, Nichols, Imani, Muhammed.
              ALK DSC_2034                6:12    Northwest corner of intersection, Castanon visible on
                                                  sidewalk.
              ALK DSC_2046                6:12    Alexus on SW corner sidewalk.
              ALK DSC_2054                6:12    NW corner/France Street, Savage and Foytlin in roadway.
                                                  Castanon on corner, obscured.
              ALK DSC_2058                6:16    Mob in street France Street, Alexus in roadway.
 CKK Still    CKK1288 7-10-16(23)         7:07    Castanon on grass, northwest corner.
              CKK1288 7-10-16(25)         7:08    Foytlin back with Savage in roadway, northwest corner,
                                                  Castanon on grass.
              CKK1288 7-10-16(46)         7:36    Castanon and Salazar on Government Street at Maximillian.
 MES Still    MES7056 7-10-16(4)          6:18    First arrests by Bearcat. Pollard and Savage on yard at NE
                                                  corner of intersection.
              MES7056 7-10-16(5)                  First arrests by Bearcat. Savage, Muhammed, and Imani on
                                                  yard at NE corner of intersection.
              MES7056 7-10-16(10)         6:20    Looking north up East Blvd. Savage visible. Love sign visible.
              MES7056 7-10-16(16)         6:22    Looking across East Blvd. Foytlin, Muhammed, and Savage in
                                                  roadway.
              MES7056 7-10-16(27)         6:54    Batiste yard. Onuoha on sidewalk.
              MES7056 7-10-16(29)         6:54    Batiste yard. Pollard and Nichols on sidewalk.
              MES7056 7-10-16(75)         7:00    Imani, child and adult sitting on curb, feet in the roadway.
              MES7056 7-10-16(93)         7:16    Intersection. Castanon on NW corner. Foytlin and Savage in
                                                  the roadway.
              MES7056 7-10-16(95)         7:18    Wide shot intersection. Muhammed partly in roadway, left
                                                  frame. France Street is blocked. Savage in roadway. Salazar
                                                  in roadway. Castanon NW corner, on grass.
              MES7056 7-10-16(98)         7:21    France Street. Muhammed and Imani in roadway. Alexus SW
                                                  corner sidewalk.

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            MES7056 7-10-16(101)       7:26   Batiste yard. Imani back in yard.
            MES7056 7-10-16(102)       7:26   East Blvd at SW corner. Muhammed in roadway.
            MES7056 7-10-16(103)       7:26   NW corner. Savage in roadway.
            MES7056 7-10-16(108)       7:32   LSP advancing across East Blvd. Nichols and Pollard in yard.
            MES7056 7-10-16(137)       7:43   Officer James Thomas cuffing Savage.
            MES7056 7-10-16(140)       7:49   Castanon in custody.
MGK Still   MGK Protest 7-10-16(40)    5:18   Wider angle. Geller obscured. Kosofksky in linked line.
                                              Pollard, Imani, Muhammed, Savage on sidewalk.
                                              Muhammed may be in street. Can see Nichols’ hat beside
                                              Muhammed.
            MGK Protest 7-10-16(51)    5:19   First rush, Imani in roadway, Foytlin in roadway. Kosofsky
                                              escaping towards Batiste.
            MGK Protest 7-10-16(54)    5:19   Muhammed and Nichols in roadway.
            MGK Protest 7-10-16(58)    5:20   Wide angle intersection. Muhammed in roadway France
                                              Street. Kosofsky in small line in East Blvd.
            MGK Protest 7-10-16(61)    5:21   Kosofsky moves to Batiste yard. Muhammed still down
                                              France Street. Narcs moving to arrest on France Street. SRT
                                              already in front. Imani on NW corner.
            MGK Protest 7-10-16(73)    5:23   France Street. Foytlin, Muhammed, Savage in roadway.
                                              Imani on NW sidewalk.
            MGK Protest 7-10-16(82)    5:25   SW corner, France Street. Savage, Finn, Alexus on sidewalk,
                                              Muhammed far right of frame in roadway France Street.
            MGK Protest 7-10-16(102)   5:28   SW corner, looking up France Street. Alexus, Savage, and
                                              Finn on sidewalk.
            MGK Protest 7-10-16(112)   5:40   SW corner. Fishbein on sidewalk at corner? Foytlin and
                                              Savage in roadway France Street.
            MGK Protest 7-10-16(122)   5:53   SW corner/Batiste yard. Foytlin, Pollard, and Imani in yard.
            MGK Protest 7-10-16(141)   6:00   Batiste yard. Onuoha on sidewalk. Imani sitting on curb.
            MGK Protest 7-10-16(149)   6:15   SW corner. Alexus at corner. Man with bullhorn. Mob
                                              blocking France Street.
ALK Video   DSC_1921 (1:00)            5:20   Nichols, Savage, Foytlin milling around in street. Pollard in
                                              roadway briefly seen. 00:20 Imani and Muhammed in
                                              roadway. 00:44 LRAD in use. Final frame Foytlin, Savage,
                                              Pollard, Nichols in roadway.
            DSC_1949 (00:14)           5:33   00:06 Finn on sidewalk SW corner. 00:08 Savage on grass.
                                              00:10 Alexus on northwest corner.
            DSC_2055 (00:12)           6:15   Man with bullhorn in intersection, Alexus moves to
                                              southwest corner by 602 France Street.
KMW         KMW8273 07-10-16 (2)       5:49   Savage in the roadway. Pollard’s Love sign visible. Attempt to
Video       (1:00)                            use LRAD. Mob screaming back at the officers.
            KMW8273 07-10-16 (3)       5:51   Savage on northeast corner yard. LRAD in use. Love sign
            (02:17)                           visible. 01:35 Pollard, Nichols, Foytlin in yard northeast
                                              corner. 01:41 Muhammed visible in yard. 2:02 Savage again.
            KMW8273 07-10-16 (11)      6:12   Finn at corner 602 France Street, Savage in the roadway in
            (00:11)                           big mob.
            KMW8273 07-10-16 (24)      5:48   Yard. Man with bullhorn. Imani and Muhammed to left of
            (00:05)                           screen. Chanting “Red blood run”?
            KMW8273 07-10-16 (29)      6:53   Muhammed and Savage in roadway at 00:04, Castanon on
                                              corner behind savage. Panning across France Street, Alexus
                                              on southwest corner.


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           KMW8273 07-10-16 (31)       6:58        Man with bullhorn in the yard, 28-31 seconds, Imani
                                                   traversing in front of the group taking video, 44-49 seconds,
                                                   Alexus standing in the road at the corner
           KMW8273 07-10-16 (35)       7:03        Nichols and Pollard by the sidewalk,
           (01:12)                                 00:12 Onuoha at front of yard or sidewalk,
                                                   00:25 Alexus at corner, maybe sidewalk, maybe roadway,
                                                   01:00 Muhammed and Imani in front of sidewalk, maybe in
                                                   roadway.
                                                   01:10 Castanon and Salazar on northwest corner.
           KMW8273 07-10-16 (37)       7:06        Mobile Field Force advancing. Pan back to yard. Morse is
           (00:18)                                 telling them “You must leave the area, or you will be
                                                   arrested.”
           KMW8273 07-10-16 (42)       7:14        Castanon at Government Street. EBRSO MFF clearing
           (00:19)                                 Maximillian Street.
DeSalvo    7-10-16 East Blvd protest   6:41        Police push up France Street to McDonalds, PA System “You
Video      videos (8) (01:00)                      must leave the area now or you will be arrested. If you can
                                                   hear this speaker, you need to leave the area.” McCloskey
                                                   grabs Savage, hands off to Thomas.
Karen      IMG_1549                    6:25        Imani in roadway, big crowd in intersection of East Blvd. and
Savage                                             France Street.
           IMG_1553                    6:27        Imani on northeast corner yard with bullhorn.
           IMG_1565                    6:37        Foytlin on sidewalk, France Street approaching 10th Street, as
                                                   officers stage in front of the Bearcat.
           IMG_1613                    6:44        Foytlin crowding officers moving to arrest.
           IMG_1623 (Blair, Akeem,     6:47        Muhammed, Imani, and Nichols within arm’s reach of an
           Sami)                                   officer.
           IMG_1629-1636               6:49-6:50   Officers are detaining protester, Savage is too close.
           IMG_1641                    6:50        Muhammed in roadway on France Street, west of East Blvd.
           IMG_1642                    6:50        Alexus on grass, France Street, west of East Blvd.
           IMG_1694                    7:09        Non-plaintiff protesters departing west on France Street.
           IMG_1695                    7:09        Onuoha on NW corner of intersection.
           IMG_1697 (Victor)           7:10        Onuoha crossing street to Batiste yard.
           IMG_1729                    7:31        Muhammed on sidewalk by Batiste yard.
           IMG_1756                    7:45        Alexus on corner, Imani and Muhammed in roadway.
           IMG_1794                    8:00        Foytlin in roadway, LSP making a push.
           IMG_1805                    8:04        Line of police forming at France and Maximillian, Savage on
                                                   SW corner yard.
           IMG_1826                    8:08        Line of police forming at France and St. Joseph, Savage in
                                                   McDonald’s parking lot.
Exhibits   AAAAAAAAA - BRPD            n/a         1:45 Imani climbing up the lawn opposite corner from 602
           Terrorizes Nonviolent                   France Street,
           Protestors -- 07.10.16                  1:55 Pollard’s dress and Love sign & Soni Nichols,
           (10:30)                                 3:48-50 Geller detention,
                                                   3:53-54 Karen Savage talking to officer LSP SWAT,
                                                   4:32 west side of East Blvd is cleared,
                                                   4:48 Pollard is in the median of East Blvd,
                                                   6:18-19 Karen Savage on the sidewalk,
                                                   6:42-44 Myron Daniels telling people to get out of the
                                                   roadway,
                                                   6:53 Finn on north side of France Street, west of East Blvd,
                                                   7:47 Imani on north side of France, west of East Blvd,

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                                     7:49 Finn again, Pollard’s Love sign, Alexus too,
                                     7:578:03, Savage in the roadway,
                                     8:19 Foytlin in the roadway,
                                     9:32 Imani has made it to 602 France Street,
                                     9:36 Pollard in the back of the yard.
AAAAAAAAAA - From Finn               12 second video, Pollard is not at front of yard, bottle goes
-                                    flying towards line of officers advance, PA system “You must
VID_20160710_193234661               leave now or you will be arrested. Where you are standing is
('where you are standing is          not good enough, you must leave now. Leave now or you will
not good enough')                    be arrested.”
DDDDDD - 2016.7.10 -                 Slow push of mobile field force.
Video by Kelly Orians                00:36-00:39 Foytlin in the roadway,
www.facebook.com                     00:40-00:45 “Where you are standing is not good enough,
kelly.orians (4:00)                  you must leave now or you will be arrested)”
                                     00:55 Foytlin crossing street. Verbal commands “Get out of
                                     the roadway.”
                                     01:20-01:25 Officer directing media to get out of the
                                     roadway.
EEEEE - 5.Baton Rouge                01:23-01:28 Foytlin in the middle of officers who are
Police attack peaceful               detaining subjects.
protesters for Alton                 01:28-01:38 LSP instructing protesters to move back for their
Sterling (02:13)                     safety.
                                     01:38-2:13 Videographer leaves the back of Batiste yard and
                                     departs the area.
GGGGGG - RT Ruptly - Up              00:55-01:00 Geller and Kosofsky in human chain blocking
to 40 Black Lives Matter             roadway.
protesters arre…xus,                 01:01-01:04 Foytlin crowding LSP as they effect arrests.
Karen, Blair.mp4                     01:18-01:33 Savage and Muhammed chasing officers
(02:43)                              westbound on France Street as they move to detain a
                                     subject.
                                     01:33-01:37 Alexus on France west of East as officers detain
                                     protester.
                                     01:41-01:47 Castanon is being detained, water bottle comes
                                     flying towards officers.
Q - Arrest of Tammy           7:34   Tammy Cheney’s cellphone video, showing that she is at the
Cheney (01:43)                       corner of Government Street and Maximillian.
QQQQQQ – the Rouge                   00:20-00:30 Alexus is detained and being taken to
video of Tammy Cheney                processing.
just before arrest (01:24)           00:39-00:57 Tammy comes running from Maximillian,
                                     cellphone and poster in hand, corresponding with Exhibit Q.




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